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         EXHIBIT 2
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                                                                         Page 1
                                      -   -   -
                           UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                                      -   -   -


            Elizabeth Sines, et al.,           )
                                               )
                              Plaintiffs,      )
                                               )
                       vs.                     ) Case No.
                                               ) 3:17-cv-00072-NKM
            Jason Kessler, et al.,             )
                                               )
                              Defendants.      )

                                     - - -
                              Monday, December 3, 2018
                                     - - -

                                  ***CONFIDENTIAL***

                  Deposition of ERICA ALDUINO, taken pursuant to
            Notice, was held at the Porter Stewart U.S.
            Courthouse, 100 East Fifth Street, Cincinnati, Ohio,
            45202, commencing at *** a.m., on the above date,
            before Deborah C. Furey, Registered Professional
            Reporter and Notary Public in and for the State of
            Ohio.
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                                                                       Page 109
       1           A.      This is just for Charlottesville 1.0,
       2      right?
       3           Q.      1.0?
       4           A.      Yes.
       5           Q.      Richard Spencer?
       6           A.      Yes.
       7           Q.      Christopher Cantwell?
       8           A.      Christopher Cantwell I don't believe was
       9      there.
     10            Q.      James Alex Fields?
     11            A.      Yeah, I don't believe that he was there.
     12            Q.      Andrew Anglin?
     13            A.      I don't believe that he was there
     14       either.
     15            Q.      Robert Azzmador Ray?
     16            A.      I don't believe that he was there.
     17            Q.      Nathan Damigo?
     18            A.      I think Nathan was there, so he would
     19       have chanted it also.
     20            Q.      Eli Mosley?
     21            A.      Yes.
     22            Q.      He was there?
     23            A.      I believe so, yes.
     24            Q.      And he would have been chanting, as
     25       well?




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                                                                       Page 110
       1             A.    Yeah.
       2             Q.    Did you hear him chant?
       3             A.    I didn't hear him chant, personally, no.
       4             Q.    Did you see him at Charlottesville 1.0?
       5             A.    Yes.
       6             Q.    Matthew Heimbach, was he present for
       7      Charlottesville 2 point -- excuse me --
       8      Charlottesville 1.0?
       9             A.    I'm not sure if he was at the rally or
     10       not, but I know that he was at the luncheon.
     11            Q.      Okay.   Did he speak at the luncheon?
     12            A.      I don't remember.      I don't think that he
     13       did.    I don't remember though.
     14            Q.      But you recall seeing him at the
     15       luncheon?
     16            A.      Yes, ma'am.
     17            Q.      And Matthew Parrott, was he there?
     18            A.      I don't know.
     19            Q.      Going to Matthew Heimbach, did you hear
     20       him chanting?
     21            A.      I didn't hear him chanting.
     22            Q.      Michael Tubbs, was he there, at
     23       Charlottesville 1.0?
     24            A.      I don't know.     I don't think that he
     25       was.




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                                                                       Page 122
       1                   But, if they are just coming in the
       2      server as a new person, generally -- like, whoever
       3      is a moderator or whoever in the server.             And then
       4      they have to give, like, permission, a certain
       5      permission, to whenever comes in the server to
       6      deal with, to actually create invite codes.
       7           Q.      Were you a moderator in the
       8      Charlottesville 2.0 server?
       9           A.      Yes, ma'am.
     10            Q.      Who else was a moderator in --
     11            A.      There were a decent amount of moderators
     12       in there.
     13                    Obviously, we had Jason Kessler, he was
     14       a moderator.      I think Eli Mosley was also.         I was.
     15       There were like -- you know, we had, like,
     16       individual groups of, you know, Identity Europa
     17       or -- what was it -- League of the South, Vanguard
     18       America.     Each of those people had, like, certain,
     19       like, leaders within the server who had the
     20       ability to create invite codes and be able to send
     21       them off.
     22            Q.      Okay.   And that was all they could do,
     23       that they could create invite codes all to
     24       joining --
     25            A.      Yeah, they all had, like, moderating




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                                                                       Page 126
       1      people, so there were a decent amount of
       2      moderators.
       3           Q.      Okay.   And what else, in addition to
       4      invite codes and adding channels?           What else can a
       5      moderator do that a regular user can't do?
       6           A.      They can, like, delete messages from,
       7      like, other members, like, if members, like, you
       8      know, say, like, certain things or, like, whatever
       9      then, you know, just messages, like, chat, certain
     10       chats can be deleted in there, so.
     11            Q.      Anything else other than the ability to
     12       delete messages?
     13            A.      I think they can, like, kick people from
     14       the server.     Yeah, they can delete messages and
     15       delete people off the server, off the top of my
     16       head.     I haven't been in it for so long, I can't
     17       remember.
     18            Q.      And again, the way somebody becomes a
     19       moderator --
     20            A.      Yeah.
     21            Q.      -- is that another moderator taps them
     22       to become a moderator?
     23            A.      Exactly.
     24            Q.      Are moderators the only ones who have
     25       authority to delete posts?




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                                                                       Page 158
       1           A.      No.
       2           Q.      No?
       3           A.      I don't think that McCarthy name had
       4      anything to do with what his real name was.             But,
       5      yeah, you know, a lot of the people on there, they
       6      go by aliases, so.
       7                   MS. PHILLIPS:      How are we doing on
       8           the --
       9                   THE VIDEOGRAPHER:       One hour, 11 minutes.
     10            Q.      How are you, I'll ask you, can you press
     11       on for a little bit longer and then we'll take a
     12       lunch break?
     13            A.      Yes, ma'am.
     14            Q.      So who in your view were the primary
     15       individuals involved in planning the Unite the
     16       Right?
     17            A.      In my view it was obviously Jason
     18       Kessler.
     19            Q.      Uh-huh.
     20            A.      I think Eli was one of the main people,
     21       Eli Mosley.
     22            Q.      Uh-huh.     Who else?
     23            A.      I don't know.      There were like other
     24       people who were involved in specific, like, safety
     25       planning and stuff like that, but I don't




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                                                                       Page 189
       1      again, this is dated June 11th.
       2           A.      Yes.
       3           Q.      Do you know whether these individuals
       4      had already signed up to be speakers at this
       5      event?
       6           A.      I'm really not sure, to be completely
       7      honest.    I know that there were talks -- the
       8      people listed, there were talks of these people
       9      being there and speaking, but I don't know if they
     10       were actually confirmed.
     11            Q.      Okay.   And of these individuals, were
     12       these individuals some of the planners for or
     13       organizers of Unite the Right?
     14            A.      Jason Kessler was for sure, that's about
     15       the only one on there, and Eli Mosley.            But Jason
     16       Kessler and Eli Mosley were the only ones that I
     17       can confirm were planners of it.
     18            Q.      To you're knowledge?
     19            A.      To my knowledge, yes.
     20            Q.      You see "Groups/Sponsors."
     21            A.      Yes.
     22            Q.      And it says under there, again, among
     23       others "Identity Europa, League of the South,
     24       Vanguard America, Traditionalist Workers Party,
     25       Fraternal Order of Alt Knights."




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                                                                       Page 205
       1           Q.      Do you know if such meetings were held
       2      regularly in the lead up to Charlottesville 2.0?
       3           A.      I know that they got more frequent at
       4      the lead up to Charlottesville 2.0, but once I
       5      was, like, removed from any sort of moderating
       6      role, I really wasn't around very often.             So I
       7      can't really say about, like, three weeks to a
       8      month before the event, I can't really say too
       9      much of what happened in between that timeframe.
     10            Q.      Okay.   Got it.
     11                    The next message down from Mr. Mosley,
     12       the very bottom of that post, he's talking --
     13       well, let me start at the top.
     14            A.      Okay.
     15            Q.      And this is July 11th, 2017 post at
     16       2:14:40 a.m.
     17                    It says, "@everyone Sharing information
     18       publically from this discord or about this event
     19       or who is attending outside of closed circles or
     20       this Discord, will get you immediately banned from
     21       all future alt right events."
     22                    What was the concern about keeping
     23       everything secret?
     24            A.      I think it was more so -- so we could
     25       avoid -- at least in my eyes, it was so we could




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       1            Q.     We talked a little bit about chants and
       2       signs that happened at Charlottesville 1.0.
       3                   I want to talk about the chants and the
       4       signs that were planned for Charlottesville 2.0.
       5                   Were the chants to be -- the chants that
       6       were to be spoken, shouted, whatever at
       7       Charlottesville 2.0, were those discussed in the
       8       Discord server?
       9            A.     I believe so, yes.
      10            Q.     And do you remember what the chants
      11       were?
      12            A.     I don't remember all of them.          I think
      13       "You will not replace us" was one of them.
      14                   That's about -- I think just "You will
      15       not replace us."
      16                   And I think Dixie was talked about being
      17       sung but I don't remember any chats.
      18            Q.     Chants?
      19            A.     Chants, yeah, I don't remember any other
      20       chants other than, "You will not replace us."
      21            Q.     Was "White lives matter" a chant that
      22       was discussed?
      23            A.     I don't remember.
      24            Q.     "Into the ovens"?
      25            A.     It may have been.       I disagree with that.




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                                                                       Page 240
       1            Q.       But it may have been?
       2            A.       I mean, it may have been.       I don't
       3       remember.
       4            Q.       "Jews will not replace us"?
       5            A.       That may have been discussed in there,
       6       too.      I don't remember, though.
       7            Q.       Did anyone have to approve these chants?
       8            A.       All approval was supposed to go through
       9       Jason Kessler, Eli Mosley.
      10            Q.      Well, did you approve of these chants?
      11            A.      I mean, it wasn't really up to me.          I
      12       didn't have the authority to approve any chants.
      13       Personally I didn't approve several of the chants
      14       that were being spoken of in the thing.
      15            Q.      Okay.   In the Discord?
      16            A.      In the Discord, yeah, that's what I
      17       meant.
      18            Q.      There's a reference in this Discord to
      19       vetting individuals who came into the server.
      20            A.      Uh-huh.
      21            Q.      How was vetting accomplished?
      22            A.      Honestly, like, it wasn't, because
      23       individuals who were brought into the server were
      24       supposed to be vetted on an organizational basis.
      25       So from what I assumed, is that other




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